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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                        Civil No. 1:22-cv-02791-ACR

 ASSA ABLOY AB, et al.,

                Defendants.



             NOTICE OF PLAINTIFF’S INTENT TO SEEK CLARIFICATION

       Pursuant to the Court’s direction at the hearing held on June 17, 2025, the United States

hereby answers the Court’s question what, if any, action the United States would take if the

Court were to deny the Motion for Limited Intervention by Fortune Brands Innovations, Inc.,

ECF No. 158. In that event, the United States would move for the same clarification Fortune

Brands has sought regarding Sections V(K) and VI (K) of the Final Judgment.

Dated: June 18, 2025


                                                 Respectfully submitted,

                                                     /s/ Matthew Huppert
                                                 Matthew R. Huppert
                                                 Miranda Isaacs
                                                 Trial Attorneys
                                                 UNITED STATES DEPARTMENT OF JUSTICE
                                                 ANTITRUST DIVISION
                                                 450 Fifth Street N.W., Suite 8700
                                                 Washington, DC 20530
                                                 Telephone: (202) 476-0383
                                                 Email: Matthew.Huppert@usdoj.gov

                                                 Counsel for Plaintiff United States of America
